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     A.W., Petitioner  v.  The People of the State of Colorado, Respondent  In the Interest of Minor Children: A.W., J.W., and L.W., and Concerning E.P.C. and J.K. No. 25SC69Supreme Court of Colorado, En BancMarch 17, 2025
    
      &nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp; Court
      of Appeals Case No. 24CA950
    
    
    
      &nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;Petition
      for Writ of Certiorari DENIED.
    